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   6 JAMES RUTHERFORD
   7
                          UNITED STATES DISTRICT COURT
   8                     CENTRAL DISTRICT OF CALIFORNIA
   9
  10 JAMES RUTHERFORD, an                  Case No.: 5:20-cv-01422-VAP-SHK
  11 individual,
                                           Hon. Virginia A. Phillips
  12 Plaintiff,
  13                                       NOTICE OF SETTLEMENT AND
     v.                                    REQUEST TO VACATE ALL
  14                                       CURRENTLY SET DATES
  15 H & S INVESTMENTS GROUP,
     LLC, a California limited liability   Complaint Filed: July 20, 2020
  16 company; and DOES 1-10, inclusive,
                                           Trial Date: None Set
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  18 Defendants.
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                                   NOTICE OF SETTLEMENT
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   1        The Plaintiff hereby notifies the Court that a global settlement has been
   2 reached in the above-captioned case and the Parties would like to avoid any
   3 additional expense, and to further the interests of judicial economy.
   4        The plaintiff, therefore, applies to this Honorable Court to vacate all currently
   5 set dates with the expectation that the Voluntary Dismissal with prejudice, as to all
   6 parties, will be filed within 45 days.
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   8
   9 Dated: October 1, 2020                         MANNING LAW, APC
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  11                                          By:   /s/ Joseph R. Manning, Jr. Esq.
                                                    Joseph R. Manning, Jr., Esq.
  12                                                Attorneys for Plaintiff
  13                                                James Rutherford

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